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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
Blue Cross and Blue Shield of Minnesota, as
Administrator of the Blue Cross and Blue Shield of          Case No: 11-cv-2529
Minnesota Pension Equity Plan; CentraCare Health            DWF/KMM
System, on Behalf of Itself and the Sisters of the Order of
Saint Benedict Retirement Plan; Supplemental Benefit
Committee of the International Truck and Engine Corp.
Retiree Supplemental Benefit Trust, as Administrator of
the International Truck and Engine Corp Retiree             WELLS FARGO BANK,
Supplemental Benefit Trust; Jerome Foundation; Meijer,      N.A.’S PROPOSED
Inc., as Administrator of the Meijer OMP Pension Plan       FINDINGS OF FACT
and Meijer Hourly Pension Plan, Participants in the         AND CONCLUSIONS OF
Meijer Master Pension Trust; Nebraska Methodist Health LAW REGARDING
System, Inc., on Behalf of Itself, and as Administrator of REMEDIES
the Nebraska Methodist Hospital Foundation, the
Nebraska Methodist Health System Retirement Account
Plan, and the Jennie Edmundson Memorial Hospital
Employee Retirement Plan; North Memorial Health Care,
on Behalf of Itself and as Administrator of the North
Memorial Health Care Pension Plan; The Order of Saint
Benedict, as the St. John’s University Endowment and the
St. John’s Abbey Endowment; The Twin City Hospitals-
Minnesota Nurses Association Pension Plan Committee,
as Administrator of the Twin City Hospitals-Minnesota
Nurses Association Pension Plan; Administrative
Committee of the Joint Hospitals Pension Board, as
Administrator of the Twin City Hospitals Pension Plan for
Licensed Practical Nurses; The Board of Trustees of the
Tuckpointers Local 52 Pension Trust Fund, as
administrator of the Tuckpointers Local 52 Pension Trust
Fund, and the Board of Trustees of the Chicago Area
Joint Welfare Committee for the Pointing, Cleaning and
Caulking Industry Local 52, as administrator for the
Chicago Area Joint Welfare Committee for the Pointing,
Cleaning and Caulking Industry Local 52; The El Paso
County Retirement Plan,
            Plaintiffs,
v.
Wells Fargo Bank, N.A.,
            Defendant.


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                                    INTRODUCTION

       For the reasons set forth in Wells Fargo Bank, N.A.’s July 21, 2017 Proposed

Findings of Fact and Conclusions of Law, the ERISA Plaintiffs are bound by the non-

ERISA jury’s determination that Wells Fargo did not breach its fiduciary duty to the Non-

ERISA Plaintiffs. Dkt. 701 at 61-74.1 Even if Wells Fargo waived its right to apply the

preclusive effect of the non-ERISA jury verdict to the ERISA Plaintiffs’ claims, which

Wells Fargo maintains it did not do, Wells Fargo respectfully submits that this Court can

and should apply the doctrine of collateral estoppel sua sponte to find that the ERISA

Plaintiffs are bound by the non-ERISA jury’s determination that Wells Fargo did not

breach its fiduciary duties. Id. Finally, even if the Court declines to give preclusive effect

to the jury’s verdict, the ERISA Plaintiffs did not meet their burden of proving a breach of

fiduciary duty under the Employee Retirement Income Security Act (“ERISA”). Id. at 74-

99. Accordingly, the ERISA Plaintiffs are not entitled to any remedy at law or in equity.

       Pursuant to the Court’s June 8, 2017 Order, Wells Fargo files these Proposed

Findings of Fact and Conclusions of Law regarding remedies. Dkt. 704.2 While Wells




1
 On June 8, 2017, the Court ordered the parties to submit Proposed Findings of Facts and
Conclusions of Law, and to “meet and confer on a briefing schedule on the appropriate
measure of damages.” Dkt. 696 at 14. The parties met and conferred and proposed a
briefing procedure and schedule, Dkt. 697, 703 and 705, which was approved by the Court.
Dkt. 698, 704 and 706. Pursuant to this schedule, the parties previously submitted
Proposed Findings of Fact and Conclusions of Law regarding whether Wells Fargo
breached its fiduciary duties under ERISA. Dkt. 699 and 701.
2
 Contemporaneous with this filing, Wells Fargo will file a brief on the “recoverability and
appropriate measure of damages.” Dkt. 704.

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Fargo maintains that Plaintiffs are not entitled to any remedy, Plaintiffs’ post-trial receipt

of millions of dollars in principal and interest payments from their collateral assets and

proceeds from the sale of such assets significantly impacts and reduces the parties’

respective calculations of Plaintiffs’ investment losses.       Indeed, by Plaintiffs’ own

calculation, which improperly fails to account for the current value of Plaintiffs’ collateral

assets, their claim for investment losses has shrunk by more than half since trial.

       Specifically, at the time of trial, five of the Plaintiffs3 remained in the Wells Fargo

Securities Lending Program (“the program”). Each of those Plaintiffs has since exited the

program, sold all of the collateral assets, and paid their collateral shortfalls. The parties

recently stipulated to each of these facts, the amount of each Plaintiff’s sales proceeds, and

the amount of each Plaintiff’s collateral shortfall. See Dkt. 707 ¶¶ 1-8 (“Stipulation”). At

the time of trial, Plaintiffs Twin City Hospitals Licensed Practical Nurses Pension Plan and

International Truck and Engine Supplemental Benefit Plan had exited the program but

maintained possession of certain of their collateral assets and received principal and

interest payments from those collateral assets. Since trial, Twin City Hospitals Licensed

Practical Nurses continued to receive principal and interest payments from its collateral

assets until it elected to sell such assets and collect the sales proceeds. The parties have

stipulated to each of these facts and the amount of principal and interest payments and sales

proceeds Twin City Hospitals Licensed Practical Nurses received.               Id. ¶¶ 9-10.


3
 Jennie Edmundson Memorial Hospital Pension Plan, Meijer Pension Trust, Tuckpointers
Local 52 Health and Welfare Fund, Tuckpointers Local 52 Pension Fund, and Twin City
Hospitals-Minnesota Nurses Association Pension Plan.

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International Truck continues to maintain possession of its collateral assets and has

continued to receive principal and interest payments from its collateral assets. The parties

have stipulated to each of these facts and the amount of principal and interest payments

International Truck has received. Id. ¶¶ 11-14.

       In total, Plaintiffs have received more than $9 million in principal and interest

payments from their collateral assets and proceeds from the sale of such assets since the

time of trial. While Wells Fargo maintains that Plaintiffs are not entitled to any remedy, if

the Court determines otherwise, Plaintiffs’ post-trial receipt of principal and interest

payments and sales proceeds is critical for two reasons.

       First, the parties agree that Plaintiffs’ investments losses should be limited to the

amount Plaintiffs paid at exit to cover their shortfall in their cash collateral account less (1)

principal and interest payments Plaintiffs received from their collateral assets, and (2)

proceeds from any sale of those collateral assets. Therefore, the parties agree that any

calculation of Plaintiffs’ investment losses must be reduced by the amount of Plaintiffs’

post-trial receipt of principal and interest payments and sales proceeds.

       Second, in the case of International Truck, the only Plaintiff continuing to maintain

possession of their collateral assets, Wells Fargo contends that their investment loss must

be further reduced by the value of the collateral assets they continue to hold. Far from

being worthless, Plaintiffs’ post-trial receipt of more than $9 million in principal and

interest payments and sales proceeds confirms that International Truck’s collateral assets

have value and that such value should be reflected in any calculation of International



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Truck’s investment losses. See Wells Fargo’s Brief on the Recoverability and Appropriate

Measure of Damages (filed October 18, 2017).

I.      FINDINGS OF FACT

        A.    Parties

              1.    Wells Fargo

        1.    Wells Fargo Bank, N.A. (“Wells Fargo”), is a national banking association

with its main office in Sioux Falls, South Dakota. Third Am. Compl. ¶ 25; Answer to

Third Am. Compl. ¶ 25. Wells Fargo is an indirect subsidiary of Wells Fargo & Company.

Id.

              2.    Plaintiffs

        2.    Blue Cross Blue Shield of Minnesota Pension Equity Plan (“Blue Cross”) is

an ERISA plan for the employees of Blue Cross Blue Shield of Minnesota. Blue Cross

joined the securities lending program on September 29, 2000 and subsequently subscribed

to both the Enhanced Yield Fund (“EY Fund”) and the Collateral Investment for Term

Loans Trust (“CI Term Trust”) of the Wells Fargo Trust for Securities Lending (the

“Business Trust”). TX33137; TX32790.

        3.    International Truck and Engine Supplemental Benefit Plan (“International

Truck”) is an ERISA plan for the employees of International Truck (n/k/a Navistar

Corporation). Tr. 6631:20-6632:2 (Viola); id. at 6643:24-25. International Truck joined

the securities lending program in January of 2003, subscribing to the EY Fund, and later

the CI Term Trust. TX33293; TX32809.




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      4.     Jennie Edmundson Memorial Hospital Pension Plan (“Nebraska

Methodist”) is an ERISA plan for the employees of the Jennie Edmundson Memorial

Hospital, which is owned by the Nebraska Methodist Health System. Jansky Trial Dep.

4:16-21. In August 1999, Nebraska Methodist joined the securities lending program, later

subscribing to both the EY Fund and CI Term Trust. TX36671; TX32817; TX32818.

      5.     Meijer Pension Trust (“Meijer”) is an ERISA plan for the employees of

Meijer, Inc. and related entities. Tr. 6246:9-15 (Julien). Meijer joined the securities

lending program in July of 2006, subscribing to both the EY Fund and the CI Term Trust.

TX33053.

      6.     Tuckpointers Local 52 Health and Welfare Fund is an ERISA plan that

provides health care benefits for its plan members and their dependents. The Tuckpointers

Local 52 Pension Fund is an ERISA plan that provides retirement benefits to plan members

and their beneficiaries. Tr. 6463:1-8 (Rivkin). These plans are referred to collectively as

“Tuckpointers.” Tuckpointers joined the securities lending program in March of 2007,

subscribing to the EY Fund and CI Term Trust. TX32915; TX32916; TX32917; TX32919;

TX32920; TX36672.

      7.     Twin City Hospitals-Minnesota Nurses Association Pension Plan (“TC-

MNA”) is an ERISA plan for the Minnesota Nursing Association Union. Twin City

Hospitals Licensed Practical Nurses Pension Plan (“TC-LPN”) is an ERISA plan for the

licensed practical nurses. Tr. 6522:25-623:6 (Slocum); id. at 6523:23-6524:5. TC-MNA




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and TC-LPN joined the securities lending program in 2004, subscribing to the EY Fund

and later the CI Term Trust. TX33222; TX33223; TX33225; TX33226. 4

       B.      Investment Losses for those Plaintiffs that Sold All of their Collateral
               Assets at Exit (Blue Cross, Nebraska Methodist, Meijer, Tuckpointers,
               and TC-MNA)

       8.      For those Plaintiffs that exited the program and simultaneously liquidated all

of their collateral assets, their investment loss is the amount paid at exit to cover the

shortfall in their cash collateral account, or, in the case of Blue Cross, the amount it paid at

exit to cover the loss in value of its shares in the Business Trust. See Tr. 5609:25-5610:23

(McConnell).

       9.      Blue Cross’ investment loss is $444,995, the amount it paid at exit to cover

the loss in value of its shares in the Business Trust. TX39038 (demonstrative);5 Tr.

6210:13-6211:6 (Orner); id. at 6232:3-11.

       10.     At the time of trial, Nebraska Methodist remained in the program and

maintained possession of certain collateral assets. Jansky Trial Dep. 34:5-7; id. at 35:5-10.

On or about January 9, 2015, Nebraska Methodist sold all of its remaining collateral assets


4
 Plaintiff North Memorial Health Care asserted non-ERISA claims on behalf of itself and
an ERISA claim on behalf of the North Memorial Health Care Pension Plan, an ERISA
plan. Third Am. Compl. ¶ 224. Because of the commingled nature of North Memorial’s
participation in the securities lending program, the parties agreed to submit North
Memorial’s entire claim to the jury. See June 12, 2003 Pretrial Conference, Tr. 533:1-4
(Plaintiffs’ counsel: “As [Wells Fargo’s] counsel stated, there is one client North Memorial
where there were commingled funds, and that is all going to go to the jury because they
were commingled, it wasn’t separated out.”).
5
 To help illustrate certain concepts, Wells Fargo cites certain demonstrative exhibits in its
proposed findings. Wells Fargo and Plaintiffs agree that such exhibits are admitted for
demonstrative purposes only and are not part of the record.

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and received $39,098.12 in sales proceeds. Stipulation ¶ 1. On or about February 22, 2015,

Nebraska Methodist exited the program. Id. Nebraska Methodist’s investment loss is

$57,069.49, the amount it paid at exit to cover the shortfall in its cash collateral account.

Id. ¶ 2.

       11.     At the time of trial, Meijer remained in the securities lending program and

maintained possession of certain collateral assets. Tr. 622:20-24 (Julien). On or about

January 9, 2015, Meijer sold all of its remaining collateral assets and received

$2,460,622.82 in sales proceeds. Stipulation ¶ 3. On or about January 27, 2015, exited the

program. Id. Meijer’s investment loss is $2,728,864.04, the amount it paid at exit to cover

the shortfall in its cash collateral account. Id. ¶ 4.

       12.     At the time of trial, Tuckpointers remained in the program and maintained

possession of certain collateral assets. Tr. 6488:2-12 (Rivkin). On or about June 6, 2014,

Tuckpointers sold all of its remaining collateral assets and received $540,941.56 in sales

proceeds. Stipulation ¶ 5. On or about June 12, 2014, Tuckpointers exited the program.

Id. Tuckpointers’ investment loss is $704,294.30, the amount it paid at exit to cover the

shortfall in its cash collateral account. Id. ¶ 6.

       13.     At the time of trial, TC-MNA remained in the securities lending program and

maintained possession of certain collateral assets. Tr. 6550:10-12 (Slocum). On or about

January 27, 2015, TC-MNA sold all of its remaining collateral assets and received

$463,986.71 in sales proceeds. Stipulation ¶ 7. On or about January 27, 2015, TC-MNA

exited the program. Id. TC-MNA’s investment loss is $1,115,900.65, the amount it paid

at exit to cover the shortfall in its cash collateral account. Id. ¶ 8.

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       C.     Investment Losses for those Plaintiffs that Maintained Possession of
              Certain Collateral Assets at Exit but Eventually Sold All Such Assets
              (TC-LPN)

       14.    For TC-LPN, which exited the program and maintained possession of certain

of its collateral assets, its investment loss is the amount paid at exit to cover the shortfall

in its cash collateral account less (1) principal and interest payments TC-LPN received

from its collateral assets, and (2) proceeds from any sale of those collateral assets. See Tr.

5609:25-5611:20 (McConnell); id. at 5613:24-5615:11.

       15.    TC-LPN exited the program in October 2010 and paid $23,159 to cover the

shortfall in its cash collateral account. Id. at 6550:25-6551:10; TX34057A. After exiting

the program, TC-LPN maintained possession of certain collateral assets. TX34057A. At

the time of trial, TC-LPN had received $6,254 in principal and interest payments from its

collateral assets. TX34057A.

       16.    Between the trial and January 9, 2015, TC-LPN received an additional

$8,468.24 in principal and interest payments from its collateral assets. Stipulation ¶ 9. On

or about January 9, 2015, TC-LPN sold all of its remaining collateral assets and received

$5,493.61 in proceeds. Id. After these amounts are subtracted from the amount they paid

to cover the shortfall in its cash collateral account, TC-LPN’s investment loss is $2,943.15.

See TX34057A; Stipulation ¶ 10.

       D.     Investment Losses for those Plaintiffs that Continue to Maintain
              Possession of Certain Collateral Assets at Exit (International Truck)

       17.    For International Truck, which exited the program and maintained

possession of certain of its collateral assets, its investment loss is the amount paid at exit


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to cover the shortfall in its cash collateral account less (1) principal and interest payments

it received from those collateral assets as of July 31, 2017, (2) proceeds from any sale of

those collateral assets, and (3) as reported by Comerica, the value of the collateral assets it

continued to hold as of July 31, 2017. See Tr. 5609:25-5611:20 (McConnell); id. at

5613:24-5615:11; id. at 5638:23-5642:8.

       18.    In June 2011, International Truck exited the program, maintained possession

of certain collateral assets, and paid $8,482,597 to cover the shortfall in its cash collateral

account. TX34058A. At the time of trial, International Truck had received $1,502,525 in

principal and interest payments from its collateral assets. TX34058A; Stipulation ¶ 12.

Since trial, International Truck has received an additional $2,957,423.58 in principal and

interest payments from its collateral assets. Stipulation ¶ 13.

       19.    International Truck continues to maintain possession of these collateral

assets. Id. ¶ 11.

       20.    Comerica, International Truck’s custodian, provides International Truck

with account statements reporting, among other things, the estimated market value for each

of the collateral assets International Truck continues to possess. Id. ¶ 15. As of July 31,

2017, Comerica estimated the total market value of International Truck’s collateral assets

to be $1,422,689.35. Id. ¶ 16.

       21.    After these amounts are subtracted from the amount they paid to cover the

shortfall in its cash collateral account, International Truck’s investment loss as of July 31,

2017 was $2,599,959.07. See TX34058A; Stipulation ¶¶ 11-16; Tr. 5609:25-5611:20

(McConnell); id. at 5613:24-5615:11.

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      E.     Post-Exit Performance of Plaintiffs’ Collateral Assets

             1.     Cheyne

      22.    Cheyne’s senior notes were restructured into pass-through notes called

“Gryphon.” Gryphon notes have since paid principal and interest each month, which Wells

Fargo then passes along to the Plaintiffs. TX37434 (provisionally received); Tr. 5139:17-

5142:13 (Ahlstrand); id. at 5145:18-5146:4. As of March 31, 2013, the total recovery from

the original Cheyne securities and the Gryphon notes was 59.2% of the original par value.

TX37434; TX29541 (demonstrative); Tr. 5092:1-16 (Ahlstrand); id. at 5139:17-5142:13;

id. at 5289:17-5290:5. The total recovery from the original Cheyne securities and the

Gryphon notes has continued to increase as demonstrated by International Truck’s receipt

of more than $535,000 in principal and interest payments from its Gryphon notes since

April 1, 2013. See Stipulation ¶ 13.

      23.    As of July 31, 2017, Comerica reported the estimated market value of

International Truck’s Gryphon notes to be $334,986.81. Stipulation ¶ 15.

             2.     Victoria

      24.    The Victoria senior notes were later restructured into pass-through notes,

which trade under “VFNC.” VFNC notes have since paid principal and interest each

month, which Wells Fargo then passes along to the Plaintiffs. TX37438 (provisionally

received); Tr. 5143:2-5146:4 (Ahlstrand). For the original Victoria securities and the

VFNC pass-through notes, the total recovery as of March 31, 2013 represented 64.2% of

the original par value. TX37438; TX29541; Tr. 5143:2-5146:4 (Ahlstrand); id. at 5289:17-

5290:5 (Glucksman). The total recovery from the original Victoria securities and the VFNC

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pass-through notes has continued to increase as demonstrated by International Truck’s

receipt of more than $408,000 in principal and interest payments from its VFNC notes

since April 1, 2013. See Stipulation ¶ 13.

       25.    As of July 31, 2017, Comerica reported the estimated market value of

International Truck’s VFNC notes to be $195,106.57. Stipulation ¶ 15.

              3.     Lehman

       26.    Since September 2008, Lehman’s bankruptcy estate has been collecting and

liquidating assets, the proceeds of which are distributed to its creditors. Since April 2012,

Wells Fargo has received semi-annual payments from the estate. Tr. 5146:6-5146:15

(Ahlstrand). Wells Fargo passes all of these payments along to the participants (including

Plaintiffs) that hold the Lehman bonds. Tr. 5146:16-22 (Ahlstrand); TX13835-1. As of

March 31, 2013, those payments totaled 14.5% of the original par value. Tr. 5146:6-

5149:18 (Ahlstrand). The total recovery for these Lehman bonds has continued to increase

as demonstrated by International Truck’s receipt of more than $1 million in principal and

interest payments from its Lehman bonds since April 1, 2013. See Stipulation ¶ 13.

       27.    As of July 31, 2017, Comerica reported the estimated total market value of

International Truck’s Lehman bonds to be $201,424.05. Stipulation ¶ 15.

              4.     Asset-Backed Securities

       28.    Many of the asset-backed securities purchased by Securities Lending have

since matured at par, resulting in no investment losses. Tr. 5151:14-5152:15 (Ahlstrand).

The remaining asset-backed securities are paying principal and interest every month, and

those payments are passed on by Wells Fargo to the Plaintiffs and other participants who

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hold those securities in its collateral accounts or separate accounts. Id. at 5152:16-5153:8

(Ahlstrand). As of March 31, 2013, the total recovery for the Galliard asset-backed

securities represented 80.1% of the original par value for those securities. TX29543

(demonstrative); Tr. 5293:13-5294:18 (Glucksman). As demonstrated in International

Truck’s receipt of more than $956,000 in principal and interest payments from these

securities since April 1, 2013, the total recovery for these securities has continued to

increase. See Stipulation ¶ 13.

       29.     As of July 31, 2017, Comerica reported the estimated total market value of

International Truck’s asset-backed securities to be $691,171.92. See Stipulation ¶ 15.

       F.      Securities Lending Fees

       30.     Wells Fargo voluntarily waived its securities lending fees beginning in the

fall of 2007 through March 31, 2010. TX12589 at 3; TX36759 at 1; TX202 at 1 (“I talked

with Dave Hoyt about the concept that I don’t think we should collect our share of a split

until the combination of the investor earnings and any price loss are certain to be

positive.”); Tr. 2514:9-19 (Smith); Tr. Ex. 33398 (“…until March 31, 2010, we will waive

all securities lending fees.”).

       G.      Custody Fees

       31.     Wells Fargo’s custody fees are unrelated to Wells Fargo’s securities lending

program or any securities lending services provided by Wells Fargo.




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II.      CONCLUSIONS OF LAW

         32.    Under Minnesota law, the ERISA Plaintiffs are bound by the jury’s

determination that Wells Fargo did not breach its fiduciary duty to the Non-ERISA

Plaintiffs.

         33.    This Court raises and applies the doctrine of collateral estoppel sua sponte

and finds that the ERISA Plaintiffs are bound by the non-ERISA jury’s determination that

Wells Fargo did not breach its fiduciary duties. Sua sponte application of the doctrine of

collateral estoppel is necessary to preserve the integrity of the judicial process by ensuring

that the judgment here is consistent with the jury’s determination of factual issues common

to both the non-ERISA and ERISA claims, thereby avoiding conflicting decisions on the

same operative facts.

         34.    Even if the ERISA Plaintiffs were not bound by the jury’s verdict, the Court

would still conclude that they did not meet their burden of proving a breach of fiduciary

duty.

         35.    Plaintiffs are not entitled to any remedy at law.

         36.    Plaintiffs are not entitled to any equitable or remedial relief, including any

relief under 29 U.S.C. §1109(a).

         37.    Plaintiffs are not entitled to fee forfeiture of any of Wells Fargo’s securities

lending fees.

         38.    Plaintiffs are not entitled to fee forfeiture of any of Wells Fargo’s custody

fees.



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III.    CONCLUSION

        39.        For the foregoing reasons, the Court concludes that Plaintiffs failed to prove

that Wells Fargo breached its fiduciary duties under ERISA and are therefore not entitled

to any remedy.

 Dated: October 18, 2017                 ZELLE LLP

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